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 8   Bitmain Technologies, Ltd.

 9
10                                UNITED STATES DISTRICT COURT

11                           NORTHERN DISTRICT OF CALIFORNIA

12                                     SAN FRANCISCO DIVISION

13
     GOR GEVORKYAN, on behalf of himself and        Case No. 3:18-cv-07004-JD
14   all others similarly situated,
                                                    DECLARATION OF HANS
15                        Plaintiff,                CHRISTENSON IN SUPPORT OF
                                                    DEFENDANT BITMAIN
16                                                  TECHNOLOGIES LTD. 'S
            v.
                                                    SUPPLEMENTAL MEMORANDUM
17   BITMAIN, INC., BITMAIN                         OFLAW
     TECHNOLOGIES, LTD., and DOES 1 to 10,
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                          Defendants,
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                                                                        DECL. ISO SUPPL. MOL
                                                                     CASE NO. 3: 18-CV-07004-JD
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 1          I, Hans Christenson, declare as follows:

 2           1.     I am Vice President, Account Executive, at USI Insurance Services, Inc. ("USI"). I

 3   am over the age of 18 and make this declaration of my own personal knowledge, and, if called as

 4   a witness, I could and would testify competently to the facts stated herein.

 5          2.      USI served as Bitmain Inc.'s insurance broker in connection with that company's

 6   commercial insurance policies.

 7           3.     In 2018, USI placed insurance coverage for Bitmain Inc. through Atlantic Specialty

 8   Insurance Co. ("Atlantic"). Initially, Atlantic issued its policies with "Bitmain Technologies Ltd." as

 9   the named insured. This was a clerical error on Atlantic's part. At all times, Bitmain Inc. was the

10   intended insured on those policies, and no one at Bitmain Inc. or USI indicated to Atlantic that the

11   named insured should be Bitmain Technologies Ltd.

12           4.     USI discovered this error shortly after Atlantic issued the policy, and USI promptly

13   requested an endorsement that corrected the policies to name Bitmain Inc. as the named insured.

14   Atlantic issued that endorsement, which is attached as Exhibit A, on July 12, 2018.

15           5.     I have reviewed Plaintiff's Exhibit 9, which appears to be a Premium Summary

16   related to Bitmain Inc.'s commercial insurance policy. For the reasons explained above, this

17   document names "Bitmain Technologies Ltd." in error.

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             I declare under penalty of perjury under the laws of the United States of America that the
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     foregoing is true and correct. Executed thi¢0 th day of June, 2020, at Seattle, Washington.
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